













Opinion issued September 28, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00716-CV
____________

SWEETWATER COURT PARTNERS, LTD., Appellant

V.

HOUSTON FENCE COMPANY, INC., Appellee




On Appeal from the County Court at Law No. 4
Fort Bend County, Texas
Trial Court Cause No. 26476




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss their appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Alcala and Bland.


